' Case 3:23-cr-00127-MEM Document 25 Filed 10/04/23 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

vs. - : CRIMINAL NO: 3:254g8- Jef Ep
THOMAS TROTTA : oes BARRE

The Court, having been advised by the Probation Office, hereby. modifies the conditions of .
release imposed on June 14, 2023, pursuant to 18 U.S.C. § 3 142(c)(3), to include: abide by the
following restrictions on personal association, residence, or travel: travel is restricted to the Middie

/ District of Pennsylvania, unless prior permission is granted by pretrial services. All other conditions

of release imposed on June 14, 2023, shall remain in effect.

Jasig Fe biguiB Ae

E@SEPH*. SAPORITO/IR.
_ UNITED STATES. SO GISTRATE: JUDGE

DATE: Dipohe Y 2023

